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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 Doctors for America, et al.,

                                Plaintiffs,

        v.                                     Case No. 1:25-cv-00322-JDB

 Office of Personnel Management, et al.,

                                Defendants.


                     Joint Motion to Modify the Briefing Schedule

    On February 24, 2025, the Court issued a scheduling order in this matter. See ECF

No. 26. The Court ordered Defendants to produce the administrative record by

Monday, March 3, 2025; for Plaintiffs to file their motion for preliminary injunction and

summary judgment by Friday, March 7, 2025; for Defendants to file any response,

including their own dispositive motion, by Friday, March 14, 2025; for Plaintiffs to file

any reply and/or response to defendants’ motion by Friday, March 21, 2025; and for

Defendants to file any reply to their own motion, if any, by Friday, March 28, 2025. Id.

    In accordance with the Court’s order, Defendants produced the administrative
record on March 3, 2025. See ECF No. 34. Subsequently, in response to an inquiry from

Plaintiffs, Defendants identified additional record documents, which were produced on

March 6 and 7, 2025.

    To allow Plaintiffs to review the additional record documents and to provide the

parties sufficient time to adequately brief the motions for summary judgment, the

parties request the Court modify the current briefing schedule as follows:
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             Brief                      Current                           Proposed

 Plaintiffs’ joint motion for        March 7, 2025                   March 11, 2025
 preliminary injunction and
    summary judgment

   Defendants’ response,             March 14, 2025                  March 24, 2025
    including their own
     dispositive motion

  Plaintiffs’ reply and/or           March 21, 2025                      April 3, 2025
  response to Defendants’
           motion

 Defendants’ reply to their          March 28, 2025                     April 14, 2025
       own motion

    For the foregoing reasons, the parties request the Court grant their joint motion to

modify the briefing schedule.

 March 7, 2025                                  Respectfully submitted,

 /s/ Zachary R. Shelley (with permission)       /s/ James W. Harlow
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